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 4               IN THE UNITED STATES DISTRICT COURT FOR THE

 5                       EASTERN DISTRICT OF CALIFORNIA

 6

 7   UNITED STATES OF AMERICA,         )       No. 1:07-CR-00254 LJO
                                       )
 8              Plaintiff,             )       ORDER PURSUANT TO THE
                                       )       DEFENDANT’S BRIEF ON ISSUE
 9        vs.                          )       OF DETENTION
                                       )
10   GLORIA RADFORD,                   )
                                       )
11                     Defendant.      )
                                       )
12

13        The Court has received and reviewed Defendant Gloria

14   Radford's Opening Brief Re Apppeal of Detention Order of May 20,

15   2008.

16        Based on the representation therein, the matter of a Bail

17   Review is referred to Magistrate Judge Sandra Snyder for a

18   setting on her calendar, after the date and the time is cleared

19   with her chambers.      The specific reason for the referral is for

20   her to make a decision about whether or not it was her initial

21   intent to keep the matter for a decision on detention.              If the

22   answer to the inquiry is in the affirmative, then this Court

23   finds that the case's finding its way back to another Magistrate

24   Judge's calendar was an error.        If that be the case, then the

25   matter is further referred to Magistrate Judge Snyder for an

26   ultimate decision on detention.

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 1   On the other hand, if she finds that it was not her intent to

 2   keep the case for the ultimate decision, then the matter should

 3   be send back to the undersigned for a determination on the

 4   appeal.

 5   IT IS SO ORDERED.

 6   Dated:    June 23, 2008               /s/ Lawrence J. O'Neill
     b9ed48                            UNITED STATES DISTRICT JUDGE
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